                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
____________________________________
MICHAEL BUSH,                           )
       Plaintiff,                       )
                                        )
vs.                                     )    C.A. NO. 1:21-cv-12039-IT
                                        )
ACTON-BOXBOROUGH REGIONAL               )
SCHOOL DISTRICT and PETER LIGHT, )
Superintendent of the Acton-Boxborough )
Regional School District,               )
       Defendants.                      )

                      DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                      EMERGENCY MOTION FOR CONTINUANCE

       The defendants, Acton-Boxborough Regional School District (“ABRSD”) and

Superintendent Peter Light, hereby respond to plaintiff’s Emergency Motion for Continuance of

the Hearing on Defendants’ Motion to Dismiss as follows:

1.     On January 20, 2022, this Court issued a Notice of Scheduling Conference setting this

matter down for an initial scheduling conference to be held (Remote only) on February 16, 2022.

On February 1, 2022, this Court reset the initial scheduling conference for hearing (Remote only)

on March 7, 2022.

2.     On February 16, 2022, the defendants, ABRSD and Mr. Light, filed a Motion to Dismiss

Plaintiff’s Complaint Under Rule 12(b)(6) for failure to state claims upon which relief can be

granted and Memorandum of Law in support.

3.     On February 28, 2022, this Court granted a Joint Motion to Continue the Scheduling

Conference in which the parties argued that the “resources of all parties, and this Court, would be

more efficiently allocated by addressing the pending dispositive motion first.” At the same time,

this Court also reset the initial scheduling conference for hearing (Remote only) on Friday, April
8, 2022, at 3:15 p.m. The following day, March 1, 2022, plaintiff filed his Opposition to

defendants’ Motion to Dismiss.

4.     On April 6, 2022, this Court issued a notice canceling the initial scheduling conference and

setting the hearing (Remote only) on defendants’ Motion to Dismiss for Friday, April 8, 2022 (the

same date as the canceled scheduling conference) at 3:30 p.m. (only fifteen minutes later than the

canceled scheduling conference.)

5.     Plaintiff now moves, on an emergency basis, to continue the hearing on defendants’ Motion

to Dismiss on grounds that: (1) he received short notice of the hearing; (2) the timing impacts

plaintiff’s counsel’s religious observances; and (3) the hearing is of interest to the public and,

therefore, should be held in person.

6.     No emergency exists, as plaintiff did not move to continue the initial scheduling conference

set for nearly the same date and hour a second time. Moreover, as the United States District Courts

have successfully demonstrated for nearly two years since the onset of the COVID-19 Pandemic,

a Remote hearing will not prejudice the interests of the parties or the public.

7.     Nevertheless, the defendants neither assent to nor oppose plaintiff’s Emergency Motion for

Continuance. Defendants are prepared to attend a hearing on their Motion to Dismiss on April 8,

2022, or during the week of April 25, 2022, at the Court’s convenience, regardless of whether the

Court chooses to hold the hearing Remote or in person.




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                                       Respectfully submitted,

                                       The Defendants,

                                       ACTON-BOXBOROUGH REGIONAL SCHOOL
                                       DISTRICT and SUPERINTENDENT PETER LIGHT,

                                       By their Attorneys,

                                       PIERCE DAVIS & PERRITANO LLP

                                       /s/ John J. Davis
                                       ______________________________________
                                       John J. Davis, BBO #115890
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Dated: April 7, 2022

                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing and
that a paper copy shall be served upon those indicated as non-registered participants on April 7,
2022.


                                               /s/ John J. Davis
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                                               John J. Davis, Esq.




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